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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA


In Re:                                                Case No.: 19-32928-MER

Rancher’s Legacy Meat Co.,                            Chapter 11

                      Debtor.


                NOTICE OF EXPEDITED HEARING AND MOTION
               FOR INTERIM AND FINAL ORDERS AUTHORIZING
      USE OF CASH COLLATERAL AND GRANTING ADEQUATE PROTECTION


TO: Entities Specified in Local Rule 9013-3.

         1.    Rancher’s Legacy Meat Co. (“Debtor”), by and through its undersigned counsel,

moves the Court for the relief requested below and give notice of hearing.

                                 PRELIMINARY HEARING

         2.    The Court will hold a hearing on the Motion at 9:00 a.m., on September 26,

2019, in Courtroom No. 7W, at United States Courthouse, 300 South Fourth Street, Minneapolis,

Minnesota 55415.

         3.    Any response to this motion must be filed and served prior to the hearing.

                                       FINAL HEARING

         4.    The Court will hold a Final Hearing on the Motion at 9:00 a.m., on October 23,

2019, in Courtroom No. 7W, at United States Courthouse, 300 South Fourth Street, Minneapolis,

Minnesota 55415.

         5.    Any response to this motion must be filed and served not later than October 18,

2019, which is five (5) days before the time set for the Final Hearing (including Saturdays,




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Sundays, and holidays). UNLESS A RESPONSE OPPOSING THE MOTION IS TIMELY

FILED, THE COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION

WITHOUT A HEARING.

         6.    This Court has jurisdiction over this motion under 28. U.S.C. §§ 157 and 1334,

Bankruptcy Rule 5005 and Local Rule 1070-1. This proceeding is a core proceeding. The

petition commencing this case was filed on September 20, 2019 (the “Petition Date”). This case

is now pending before this Court.

         7.    This motion arises under 11 U.S.C. § 363 and Bankruptcy Rule 4001(b). This

motion is filed under Bankruptcy Rules 9014 and Local Rules 4001-2 and 9013. By this motion

Debtor seeks (i) expedited relief and (ii) interim and final orders authorizing use of “Cash

Collateral” as defined in Section 363(a) of the Bankruptcy Code, that the Debtor is holding or

may obtain, pursuant to Bankruptcy Code Sections 361 and 363 and Bankruptcy Rule 4001(b) as

requested herein. The Debtor further seeks to grant replacement liens as adequate protection to

the lenders with liens in the cash collateral. The grounds for this Motion are set forth below.

         8.    The Debtor requests interim authorization to use cash collateral through and

including the date of the Final Hearing (“Interim Period”). At least fourteen days prior to the

Final Hearing, the Debtor will file a supplement to this Motion along with a proposed final

order that will include an amended budget to reflect actual activity in the case and cash

projections through the time period the Debtors will ultimately seek to use cash collateral on a

final basis. The Debtor intends to address multiple issues during the first month of this case and

will have a more accurate picture of future cash flows at the time of filing the aforementioned

supplement.




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         9.    The Debtor’s use of cash collateral is essential to its continued business

operations and irreparable harm would result if it is deprived of the ability to use such cash

collateral on an interim basis. Without immediate access to cash collateral, the Debtor would be

at serious risk of shutdown due to strained liquidity. The Debtor needs the use of cash collateral

to, among other things, pay its more than 30 employees, purchase inventory, and fulfill

outstanding production obligations.

         10.   Pursuant to Local Rule 9013-2(a), this Motion is accompanied by a memorandum

of law, proposed order, and proof of service. Additionally, this Motion is supported by the

Verified Statement of Arlyn Lomen pursuant to Local Rule 4001-2.

                                    BUSINESS OF DEBTOR

         11.   Debtor is a meat processing business, providing meat products to customers in the

upper Midwest area of the United States.

         12.   As of September 20, 2019, the Debtor employed approximately 30 full-time

employees. The Debtor’s corporate headquarters are located in Vadnais Heights, Minnesota.

         13.   The Debtor’s operations have suffered in recent years due to several factors. The

Debtor has experienced a recent downturn in the rendering business and stagnant sales.

However, over the last several months the Debtor has operated on a positive cash flow basis.

         14.   In response to the Debtor’s financial difficulties, the Debtor’s management spent

a substantial period of time evaluating alternatives for maximizing value for all of the Debtor’s

constituencies. After careful consideration and the exercise of sound business judgment, the

Debtor concluded that a Chapter 11 filing was the only viable option.

         15.   In order to preserve the value of its business enterprise pending the confirmation

of a Plan of Reorganization or consummation of a sale of the Debtor’s business operations, it is

imperative that the Debtor continue to operate its business in as normal a fashion as possible.
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       CREDITORS HOLDING SECURITY INTERESTS IN CASH COLLATERAL

         16.   The company was formed originally in 2010 by Joe Unger under the name Unger

Meat Company with the financial assistance of James L. Ratcliff (“Ratcliff” or “Lender”) and

the bank he controls, First National Bank of Vinita (“Vinita”). Mr. Unger ran the company in

building owned by James Ratcliff individually. Mr. Ratcliff and Vinita provided financing for

the operations. Unger Meat Company singed a promissory note in the principal amount of

$2,250,000.00 on December 3, 2010 (“First Note”) and a second promissory note in the principal

amount of $11,885,000.00 on December 3, 2010 (“Second Note”). Copies of the First Note and

Second Note are attached as Exhibit A to the affidavit of Arlyn J. Lomen.

         17.   Unger Meat Company granted a security interest in the assets of the business to

Ratcliff on December 3, 2010. Mr. Ratcliff filed a UCC financing statement with the Minnesota

Secretary of State on December 29, 2010. A copy of the Security Agreement is attached as

Exhibit B to the affidavit of Arlyn J. Lomen.

         18.   The First Note required monthly payments of $10,310.83. The Second Note

required monthly payments of $94,006.83.

         19.   The Debtor is indebted to. Ratcliff in the approximate principal amount of

$17,040,393.37 of the Petition Date. Ratcliff claims a lien in substantially all of the Debtor’s

assets, including, a lien in inventory, accounts, equipment, general intangibles and all other

personal property of the Debtor.1

         20.   Ratcliff perfected his security interest in the Debtor’s assets by filing a UCC-1

Financing Statement filed on December 29, 2010, with the Minnesota Secretary of State as

Document No. 201022606390 and an UCC Financing Statement Amendment filed on January

         1
         Nothing contained herein shall be construed as an admission by Debtor as to the validity
or perfection of any interests held by Ratcliff or any other lender.
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24, 2011 as Document No. 20112290995. Copies of the two Financing Statements are attached

as Exhibit C to the affidavit of Arlyn J. Lomen.

         21.   Unger Meat Company changed its name to Rancher’s Legacy Meat Co. by

amendment to its Articles of Incorporation on May 6, 2014.

         22.   Ratcliff filed a UCC-3 continuation statement on November 12, 2015, with the

debtor listed as “Unger Meat Company” as Document No. 854026600022. A copy of the UCC-3

Continuation Statement is attached as Exhibit D to the affidavit of Arlyn J. Lomen.

         23.   Ratcliff filed a second UCC-3 continuation statement on January 10, 2019, with

the debtor listed as “Ranchers Legacy Meat Co.” as Document No. 854026600022. A copy of the

UCC-3 Continuation Statement is attached as Exhibit E to the affidavit of Arlyn J. Lomen.

         24.   Debtor also singed a promissory note, with Upper Lakes Foods, Inc. (“ULF”) as

creditor, in the principal amount of $3,040,000.00 on September 3, 2016 (“ULF Note”) Copies

of the ULF Note are attached as Exhibit F to the affidavit of Arlyn J. Lomen.

         25.   Debtor granted a security interest in the assets of the business to ULF on

September 3, 2016. ULF filed a UCC financing statement with the Minnesota Secretary of State

on April 18, 2017. A copy of the ULF Security Agreement is attached as Exhibit G to the

affidavit of Arlyn J. Lomen.

         26.   The Debtor is indebted to ULF in the approximate principal amount of

$2,964,000.00 as of the Petition Date. ULF claims a lien in substantially all of the Debtor’s

assets, including, a lien in inventory, accounts, equipment, general intangibles and all other

personal property of the Debtor.

         27.   ULF perfected its security interest in the Debtor’s assets by filing a UCC-1

Financing Statement filed on April 18, 2017, with the Minnesota Secretary of State as Document


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No. 9465175000058. ULF filed a UCC-3 Termination on February 26, 2019, but, upon

information and belief, has recently re-filed a UCC-1. Copies of the ULF Financing Statements

are attached as Exhibit H to the affidavit of Arlyn J. Lomen.

         28.   As of the date of this Motion, neither Ratcliff nor ULF has consented to the use of

cash collateral. Ratcliff is under secured. Depending on a determination of relative priority, ULF

may or may not be under secured.

         29.   The Debtor seeks authority to use cash collateral for the purposes and in the

approximate amounts set forth in the budget attached as Exhibit I to the Affidavit of Arlyn J.

Lomen.

                            ESTIMATED COLLATERAL VALUE

         30.   On the Petition Date and as of the date of the hearing on this Motion, the Debtor's

collateral has the following estimated value:

               Cash                                                  $0
               Accounts                                              $ 1,489,000
               Inventory                                             $ 2,400,000
               Estimated Furniture Fixtures and Equipment            $ 9,114,240
               Total                                                 $ 13,003,240

         31.   As of October 19, 2019, Debtor estimates that the Collateral’s value, will be:

               Cash                                                  $0
               Accounts                                              $ 1,500,000
               Inventory                                             $ 2,500,000
               Estimated Furniture Fixtures and Equipment            $ 9,120,200
               Total                                                 $ 13,120,000

         32.   Pursuant to the requirements of 11 U.S.C. § 363(e) , the Debtor proposes as

adequate protection for Ratcliff and ULF as follows: (i) to grant replacement liens in the lenders’

respective collateral; and to (ii) report and account for the use of any cash proceeds by the

Debtor.


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         33.    The Debtor projects that it can operate profitably in the ordinary course with use

of cash collateral.

         34.    The Debtor proposes to grant Ratcliff and ULF replacement liens in any new

post-petition assets generated by Debtor having the same dignity, priority and extent as existed

on the Petition Date.

         35.    Pending the final hearing, the Debtor has a need to use cash collateral through the

Interim Period to pay operating expenses in the amounts identified in the Budget attached as

Exhibit I. If the Debtor is not permitted to use cash collateral on an interim basis for the purposes

set forth in the Budget from the Petition Date through the Interim Period, the Debtor will suffer

immediate and irreparable harm.

         36.    Prior to the final hearing on this Motion for an order authorizing use of cash

collateral, and in settlement of any and all of the matters raised in this Motion, Debtor may enter

into a stipulation with its lenders concerning use of cash collateral, adequate protection and other

related matters. In the event Debtor enters into any such stipulation, Debtor will seek approval of

the stipulation without further notice of hearing pursuant to Bankruptcy Rule 4001(d)(4), and

DEBTOR HEREBY GIVES NOTICE OF INTENT TO SEEK APPROVAL OF ANY

SUCH STIPULATION.

                                      EXPEDITED RELIEF

         37.    In order to operate in the ordinary course, preserve the going concern value of its

operations and avoid immediate and irreparable harm the Debtor must have immediate authority

to use cash collateral pending a final hearing scheduled for October 23, 2019. There is good

cause to consider the preliminary relief on an expedited basis.




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         38.      The Debtor’s next payroll is due to be funded on September 26, 2019. Without the

use of cash collateral, at least through the Interim Period, Debtor will be unable to pay its

employees’ wages.

         39.      The Debtor may offer additional evidence in support of this Motion, including the

testimony of Arlyn J. Lomen, Debtor’s President, and Rod Peterson, financial advisor to the

Debtor, if such is necessary in connection with this Motion.

    WHEREFORE, the Debtor moves the Court for an order:

         A. Authorizing use of cash collateral from the Petition Date through the Interim Period,

               in accordance with the proposed budget;

         B. Authorizing the Debtor to grant adequate protection as set forth in the Motion; and

         C. Such other relief as is just and equitable.


Dated: September 23, 2019                       FOLEY & MANSFIELD, PLLP


                                           BY: /s/ Cameron A. Lallier
                                                Thomas J. Lallier (#163041)
                                                tlallier@foleymansfield.com
                                                Cameron A. Lallier (#393213)
                                                clallier@foleymansfield.com
                                                250 Marquette Avenue,Suite 1200
                                                Minneapolis, MN 55401
                                                Telephone: (612) 338-8788

                                                ATTORNEYS FOR DEBTOR




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                                        VERIFICATION

       I, Arlyn J. Lomen, President of Rancher's Legacy Meat Co., declare under penalty of

perjury that the facts set forth in the preceding Motion are true and correct to the best of my

knowledge, information, and belief.




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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA


In Re:                                                  Case No.: 19-32928-MER

Rancher’s Legacy Meat Co.,                              Chapter 11

                         Debtor.


                                    MEMORANDUM OF LAW


         This memorandum of law is submitted in support of the Motion for Interim and

Final Orders Authorizing Use of Cash Collateral and Granting Adequate Protection filed by

Rancher’s Legacy Meat Co. (“Debtor”). A preliminary hearing has been scheduled for 9:00 a.m.

on September 26, 2019. A final hearing is scheduled on October 23, 2019 at 9:00 a.m.

                                              FACTS

         The factual basis for this memorandum are set forth in the verified Motion and

incorporated herein. All capitalized terms not defined herein have the meaning ascribed in the

Motion.

                                      LEGAL ARGUMENT

         Under the terms of Section 363(c) of Title 11 of the United States Code (the “Bankruptcy

Code”), cash collateral use is authorized if certain conditions are met:

         (2) The trustee may not use, sell or lease cash collateral under paragraph (1) of
         this subsection unless –

                       (A) each entity that has an interest in such cash collateral
                consents; or

                        (B) the court, after notice and a hearing, authorized such
                use, sale or lease in accordance with the provisions of this section.

11 U.S.C. § 363(c)(2).


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          Subsection (e) of Section 363 provides that, at any time, on request of an entity that has

an interest in property proposed to be used by the debtor, “the court, with or without a hearing,

shall prohibit or condition such use . . . as is necessary to provide adequate protection of such

interest.” 11 U.S.C. § 363(e)(emphasis added).

          Under the terms of Section 361 of the Bankruptcy Code, when adequate protection is

required under section 363 of the Bankruptcy Code, such adequate protection may be provided

by, inter alia, “providing to such entity an additional or replacement lien to the extent that . . .

use, sale [or] lease [under Section 363] . . . results in a decrease in the value of such entity’s

interest in such property.” 11 U.S.C. § 361.

          Rule 4001(a)(1) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)

requires that a motion conditioning the use, sale or lease of property shall be made in accordance

with Bankruptcy Rule 9014 and shall be served on any committee appointed pursuant to

Section 1102 of the Bankruptcy Code or its authorized agent, or, if no committee of unsecured

creditors has been appointed, upon the holders of the 20 largest unsecured claims. In accordance

with Bankruptcy Rule 4001(b)(1), a motion for use of cash collateral shall be made in

accordance with Bankruptcy Rule 9014 and shall be served on any entity which has an interest in

the cash collateral and on any committee appointed pursuant to Section 1102 of the Bankruptcy

Code or its authorized agent. If no committee of unsecured creditors has been appointed, a

motion for use of cash collateral shall be served on the holders of the 20 largest unsecured

claims.

          Finally, Local Rule 4001-2 requires that, in connection with a motion for use of cash

collateral, the debtor shall attach: 1) the debtor’s calculation of the amount of debt secured by the

collateral; 2) the debtor’s description of the collateral and estimate of the collateral’s value on the


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date of the filing of the petition and at the beginning of the period of time for which the debtors

seek authorization to use cash collateral; 3) the debtor’s description of the collateral and estimate

of the collateral’s value at the end of the period of time for which the debtor seeks authorization

to use cash collateral; and 4) the debtor’s cash flow projections.

         11 U.S.C. §363(c)(2) provides that a debtor may use cash collateral only with the consent

of each entity that has an interest in such cash collateral, or if the court, after notice and a

hearing, authorizes such use. Use of cash collateral must be restricted or conditioned as is

necessary to provide adequate protection to any entity that has an interest in the property which

the Debtor proposes to use. 11 U.S.C. §363(e). In this case, the Debtor proposes to use cash

collateral through the Interim Period, to the extent necessary to operate its business in the

ordinary course according to the Budget attached to the Motion as Exhibit I to the affidavit of

Arlyn J. Lomen. As adequate protection, the Debtor proposes to provide replacement liens and a

reporting of information to the Lender. The Eighth Circuit Court of Appeals has stated:

         “In any given case, the bankruptcy court must necessarily (i) establish the value of the
         secured creditor's interest, (ii) identify the risk to the secured creditor's value resulting
         from the debtor's request for use of cash collateral, and (iii) determine whether the
         debtor's adequate protection proposal protects value as nearly as possible against risks to
         that value consistent with the concept of indubitable equivalence.”

In re Martin, 761 F.2d 472, 476-77 (8th Cir. 1985).

         The adequate protection offered by the Debtor satisfies the Bankruptcy Code

requirements for adequate protection. In the present case, the Debtor has satisfied all of the

requirements under the Bankruptcy Code and the applicable rules. The secured lenders, Ratcliff

and ULF, have been afforded adequate protection from the use of cash collateral pursuant to the

terms of the Proposed Order. In accordance with the terms of the Proposed Order, the secured

lenders will receive replacement liens in an amount equal to the Debtor’s actual use of cash


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collateral and any diminution in the value of the Lender’s interest in the prepetition collateral

occurring on or subsequent to the Petition Date. Consequently, the terms of Sections 361 and

363(c)(2) and (e) of the Bankruptcy Code have been satisfied.

         THE ASSERTED SECURITY INTERESTS OF RATCLIFF AND ULF ARE
                               AVOIDABLE

         The following facts are undisputed as it relates to Ratcliff’s asserted security interest in

Rancher’s assets: (i) Unger Meat Company executed and delivered to Ratcliff a Security

Agreement dated December 3, 2010, by which Unger Meat Company pledged and granted

Ratcliff a security interest in its ownership interest in all of Unger’s equipment, inventory, lease

agreements, accounts receivable, furniture and fixtures, whether then owned or thereafter

acquired, together with all proceeds and products thereof and replacements therefor; (ii) Unger

Meat Company changed its name to Rancher’s Legacy Meat Co. by amendment to its Articles of

Incorporation on May 6, 2014; (iii) Ratcliff filed a UCC continuation statement on November 12,

2015 with the debtor listed as “Unger Meat Company”; and (iv) Ratcliff did not file a debtor

name change to reflect the change in his debtor’s name to Rancher’s Legacy Meat Co. until

January 10, 2019.

         The provisions of the Uniform Commercial Code governing this particular issue were

changed significantly in 2010. Previously the Uniform Commercial Code, in section 9-402

required the financing statement to contain the name, address, and signature of the debtor. It did

not define what constituted the name. Since the 2010 revisions, the definition of what constitutes

a sufficient name on the financing statement is specified and 9-506 specifies that an erroneous

name is seriously misleading unless the financing statement is saved by the safe harbor

provision. The revised provisions of the Uniform Commercial Code, as adopted in Minnesota,

provide as follows:

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         336.9-503 NAME OF DEBTOR AND SECURED PARTY.

         (a) Sufficiency of debtor's name. A financing statement sufficiently provides the
         name of the debtor:

                (1) except as otherwise provided in paragraph (3), if the debtor is a
                registered organization or the collateral is held in a trust that is a registered
                organization, only if the financing statement provides the name that is
                stated to be the registered organization's name on the public organic
                record most recently filed with or issued or enacted by the registered
                organization's jurisdiction of organization which purports to state, amend,
                or restate the registered organization's name;

          (b) Additional debtor-related information. A financing statement that provides
         the name of the debtor in accordance with subsection (a) is not rendered
         ineffective by the absence of:

                (1) a trade name or other name of the debtor; or

                (2) unless required under subsection (a)(6)(B), names of partners,
                members, associates, or other persons comprising the debtor.

         (c) Debtor's trade name insufficient. A financing statement that provides only the
         debtor's trade name does not sufficiently provide the name of the debtor.

         336.9-506 EFFECT OF ERRORS OR OMISSIONS.

         (a) Minor errors and omissions. A financing statement substantially satisfying the
         requirements of this part is effective, even if it has minor errors or omissions,
         unless the errors or omissions make the financing statement seriously misleading.

         (b) Financing statement seriously misleading. Except as otherwise provided in
         subsection (c), a financing statement that fails sufficiently to provide the name of
         the debtor in accordance with section 336.9-503(a) is seriously misleading.

         (c) Financing statement not seriously misleading. If a search of the records of the
         filing office under the debtor's correct name, using the filing office's standard
         search logic, if any, would disclose a financing statement that fails sufficiently
         to provide the name of the debtor in accordance with section 336.9-503(a), the
         name provided does not make the financing statement seriously misleading.

         (d) Debtor's correct name. For purposes of section 336.9-508(b), the "debtor's
         correct name" in subsection (c) means the correct name of the new debtor.

         336.9-507 EFFECT OF CERTAIN EVENTS ON EFFECTIVENESS OF FINANCING
         STATEMENT.



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         (a) Disposition. A filed financing statement remains effective with respect to
         collateral that is sold, exchanged, leased, licensed, or otherwise disposed of and in
         which a security interest or agricultural lien continues, even if the secured party
         knows of or consents to the disposition.

         (b) Information becoming seriously misleading. Except as otherwise provided in
         subsection (c) and section 336.9-508, a financing statement is not rendered
         ineffective if, after the financing statement is filed, the information provided in
         the financing statement becomes seriously misleading under section 336.9-506.

         (c) Change in debtor's name. If the name that a filed financing statement
         provides for a debtor becomes insufficient as the name of the debtor under section
         336.9-503 (a) so that the financing statement becomes seriously misleading under
         section 336.9-506:

                (1) the financing statement is effective to perfect a security interest in
                collateral acquired by the debtor before, or within four months after, the
                filed financing statement becomes seriously misleading; and

                (2) the financing statement is not effective to perfect a security interest in
                collateral acquired by the debtor more than four months after the filed
                financing statement becomes seriously misleading, unless an amendment
                to the financing statement which renders the financing statement not
                seriously misleading is filed within four months after the financing
                statement became seriously misleading.

Minn. Stat. §§ 336.9-503, 506 and 507 (emphasis added).

         Case law analyzing the 2010 revisions to the Uniform Commercial Code remains in its

infancy. However, at least one appellate court within the 8th Circuit has addressed the issue. See,

In re EDM Corp., 431 B.R. 459 (B.A.P. 8th Cir. 2010). After conducting a thorough analysis of

the applicable provisions of the Uniform Commercial Code and prior 8th Circuit decisions, the

EDM Corp. court concluded,

                In sum, we interpret § 9–503 to mean exactly what it says: if the
                debtor is a registered organization, then a financing statement
                “provides the name of the debtor” only if it “provides the name of
                the debtor indicated on the public record of the debtor's jurisdiction
                of organization”—nothing more and nothing less.

Id. at 466. (emphasis added)



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         It is worth noting that the EDM Corp. court found the secured lender was not validly

perfected even though its UCC financing statement included the debtor’s organizational name.

The mere inclusion of a d/b/a name in addition to the debtor’s organizational name was enough

to negate perfection of the secured lender’s asserted security interest. By comparison, here,

Ratcliff filed his continuation statement in November 2015 under the completely wrong debtor’s

name. No UCC search for Rancher’s Legacy Meat Co. would have revealed the financing

statement that Ratcliff now seeks to have declared a valid, perfected, first priority lien on

Rancher’s assets.

         On May 6, 2014 2014 Unger Meat Company became Rancher’s Legacy Meat Co.

Ratcliff was aware of the change of name. When the name of the debtor on his security interest

changed, Ratcliff was required to file an amendment within four months reflecting the name

change to maintain perfection. Ratcliff did not file a change of name amendment until January

10, 2019.

         After September 6, 2014, the Ratcliff security interest remained perfected in the assets

which existed on that date: all the equipment which was owned by Rancher’s and fixed assets

then possessed by Rancher’s. However, after September 6, 2014 Plaintiff’s security interest was

unperfected in all assets acquired after that date; inventory, accounts receivable, and equipment

acquired by Rancher’s after that date.

         As to ULF, it filed a termination in February 2019. Upon information and belief ULF has

recently re-filed its UCC-1. To the extent that is true, ULF’s UCC-1 is avoidable as a preferential

transfer. Accordingly, it is the Debtor’s position that all asserted security interests against its

accounts receivable and inventory will be avoided for the benefit of the estate.




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                                      EXPEDITED RELIEF

         Cause exists here to grant the Motion on an expedited basis. The liquidity to be provided

through use of the cash collateral on an interim basis is essential to the Debtor’s continued

operations and the success of the Debtor’s reorganization efforts, and is needed on the most

urgent basis possible. Without use of the cash collateral, the Debtor would be at serious risk of a

shutdown, which would likely lead to its liquidation, the loss of dozens of jobs, and severe

prejudice to its creditors. The expenditures the Debtor proposes to make between the preliminary

hearing and the final hearing are described in the budget submitted with the Motion. Without the

ability to pay operational expenses outlined in the budget, the Debtor will not be able to conduct

its business. Accordingly, the expedited relief requested is necessary to avoid immediate and

irreparable harm.

                                         CONCLUSION

         The Debtor respectfully requests that an order be entered granting this Motion granting

expedited relief and authorizing the use of cash collateral in accordance with the terms of the

budget attached to the affidavit of Arlyn J. Lomen and authorizing the Debtor to grant

replacement liens as adequate protection as set forth in the Motion.



Dated: September 23, 2019                      FOLEY & MANSFIELD, PLLP


                                          BY: /s/ Cameron A. Lallier
                                               Thomas J. Lallier (#163041)
                                               Cameron A. Lallier (#393213)
                                               250 Marquette Avenue,Suite 1200
                                               Minneapolis, MN 55401
                                               Telephone: (612) 338-8788

                                               ATTORNEYS FOR DEBTOR


                                                 17
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA


In Re:                                                 Case No.: 19-32928-MER

Rancher’s Legacy Meat Co.,                             Chapter 11

                        Debtor.


 UNSWORN DECLARATION OF ARLYN J. LOMEN IN SUPPORT OF MOTION FOR
   ENTRY OF AN ORDER GRANTING EXPEDITED RELIEF FOR INTERIM AND
  FINAL ORDERS AUTHORIZING USE OF CASH COLLATERAL AND GRANTING
                      ADEQUATE PROTECTION


         Arlyn J. Lomen, under penalty of perjury, states as follows:

         I am the President of Ranchers Legacy Meat. Co. (“Rancher’s”). I make this unsworn

declaration in support of the Debtor’s Motion for Interim and Final Orders Authorizing Use of

Cash Collateral and Granting Adequate Protection.

         1.     I am familiar with Rancher’s assets, debts and operations.

         2.     Rancher’s was founded in 2010 and was formally known as Unger Meat

Company.

         3.     The Debtor is indebted to James L. Ratcliff (“Ratcliff”) in the approximate

principal amount of $17,040,393.37 as of the Petition Date. Ratcliff claims a lien in substantially

all of Rancher’s assets, including, a lien in inventory, accounts, equipment, general intangibles

and all other personal property of Rancher’s.1




         1
         Nothing contained herein shall be construed as an admission by Debtor as to the validity
or perfection of any interests held by the Lender.


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         4.    Rancher’s executed two promissory notes, each dated December 3, 2010, in favor

of Ratcliff in the amounts of $11,885,000.00 and $2,250,000.00, respectively. Copies of the two

promissory notes are attached hereto as Exhibit A.

         5.    Rancher’s executed a Security Agreement in favor of Ratcliff to secure the two

Promissory Notes on December 3, 2010. The Security Agreement granted Ratcliff a lien in

substantially all of the Rancher’s assets. A copy of the Security Agreement is attached hereto as

Exhibit B.

         6.    Ratcliff perfected its security interest in Rancher’s assets by filing a UCC-1

Financing Statement filed on December 29, 2010, with the Minnesota Secretary of State as

Document No. 201022606390 and an UCC Financing Statement Amendment filed on January

24, 2011 as Document No. 20112290995. Copies of the two Financing Statements are attached

hereto as Exhibit C.

         7.    Unger Meat Company changed its name to Rancher’s Legacy Meat Co. by

amendment to its Articles of Incorporation on May 6, 2014.

         8.    Ratcliff filed a UCC-3 continuation statement on November 12, 2015, with the

debtor listed as “Unger Meat Company” as Document No. 854026600022. A copy of the UCC-3

Continuation Statement is attached as Exhibit D.

         9.    Ratcliff filed a second UCC-3 continuation statement on January 10, 2019, with

the debtor listed as “Rancher’s Legacy Meat Co.” as Document No. 854026600022. A copy of

the UCC-3 Continuation Statement is attached as Exhibit E.

         10.   Debtor also singed a promissory note, with Upper Lakes Foods, Inc. (“ULF”) as

creditor, in the principal amount of $3,040,000.00 on September 3, 2016 (“ULF Note”) Copies

of the ULF Note are attached as hereto as Exhibit F.


                                                19

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         11.   Debtor granted a security interest in the assets of the business to ULF on

September 3, 2016.

         12.   ULF filed an UCC financing statement with the Minnesota Secretary of State on

April 18, 2017. A copy of the ULF Security Agreement is attached hereto as Exhibit G.

         13.   The Debtor is indebted to ULF in the approximate principal amount of

$2,964,000.00 as of the Petition Date.

         14.   ULF claims a lien in substantially all of the Debtor’s assets, including, a lien in

inventory, accounts, equipment, general intangibles and all other personal property of the Debtor.

         15.   ULF perfected its security interest in the Debtor’s assets by filing a UCC-1

Financing Statement filed on April 18, 2017, with the Minnesota Secretary of State as Document

No. 9465175000058. Copies of the ULF Financing Statements are attached hereto as Exhibit H.

         16.   The Debtor seeks authority to use cash collateral for the purposes and in the

approximate amounts set forth in the budget attached hereto as Exhibit I.

         17.   Rancher’s estimates at the time of the Petition Date (which is also the date of the

proposed beginning use of cash collateral), the value of the Rancher’s accounts receivable and

inventory (collectively, the “Cash Collateral”) is $3,889,000.00, consisting of accounts

receivable of $1,489,000.00 and inventory of $2,400,000.00. Rancher’s anticipates generating

Cash Collateral on and after the Petition Date to the close of business on October 19, 2019 in

amounts equal than or greater to the amount of Cash Collateral used by Rancher’s in the same

period. Rancher’s estimates at the close of business on October 19, 2019 the value of the

Rancher’s accounts receivable and inventory will be $4,000,000.00, consisting of accounts

receivable of $1,500,000.00 and inventory of $2,500,000.00.

         18.   Rancher’s needs the use of Cash Collateral to meet its operating expenses.




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        19.     From and after the Petition Date through the Interim Period, Rancher's requires

cash for the items and in the amounts specified on budget attached hereto as Exhibit   I. Exhibit I

contains only those amounts as are necessary to avoid immediate and irreparable harm to the

estate pending a final hearing.

        20.     Rancher's will suffer immediate and irreparable harm if Rancher's is unable to

use cash collateral.

       21.      I declare under penalty of perjury that the foregoing is true and correct according

to the best of my knowledge, information and be) ief.



Dated: September 19, 2019
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                                                                          Filing Number: 1071081700028
                                                                          Date: 02/26/2019
                                                                          Time: 10:32 AM
                                                                          STATE OF MINNESOTA
                                                                          Office: Office of the Minnesota
                                                                          Secretary of State




           UCC3 - Termination - UCC Financing Statement

ORIGINAL FILING NUMBER: 974464700113
ORIGINAL FILING DATE: 10/18/2017
RETURN ACKNOWLEDGEMENT TO:
Robert Magie
501 Lake Ave. South
Duluth, MN 55802

AUTHORIZING PARTY

ORGANIZATION'S NAME
Upper Lake Foods, Inc.




                                                                                     Exhibit H
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                                                                                                                                                  Next
                                                                                                                                                 30 Days
Gross Sales -
 Fresh & Frozen Ground Beef/Pork -
   Regular Business                         $1,845,720    $2.700     $2,181,600   $2.700    Total Customer Receipts                             $2,870,000
   New Chain Business                          535,500    $1.750        853,125   $1.750
 Portion-Cut Steaks                            271,250    $7.750        325,500   $7.750    Purchases:
 Tolling -                                                                                   Product Purchases                                   1,910,000
   Ground Products -                                                                         Packaging Purchases                                   130,000
     Existing Business                         12,672     $0.495        12,870    $0.495     Supplies (Production/QA)                               15,000
     New Business                              15,840     $0.495        63,360    $0.495
   Portion-Cut Steaks                          12,600     $2.000        12,600    $2.000     Outgoing Freight Charges                               90,000
 Other Products Not Specified                       0     $0.000             0    $0.000
 Boxed Beef/Pork                              144,000     $6.000       180,000    $6.000    Payroll Cost -
                                                                                             Production-related Labor -
       Gross Sales                           2,837,582     $2.551     3,629,055   $2.375      Employees                                            83,000
       Marketing Allowances                   (109,000)   ($0.098)     (155,000) ($0.101)     Temporary Services                                  105,000
       Net Sales                            $2,728,582     $2.453    $3,474,055   $2.274      Health Insurance - Production Workers                12,300
                                                                                             Sales staff, including benefits                       50,000
Gross Margin -                                                                               Administrative, including benefits                    57,000
 Fresh & Frozen Ground Beef/Pork -                                                           T&E Expenses, primarily sales staff                    8,000
   Regular Business                          $581,060     $0.850      $686,800    $0.850
   New Chain Business                          76,500     $0.250       121,875    $0.250    Building Rent                                           12,700
   BEK Price Increase (5 cents per pound)       7,500     $0.050        18,000    $0.050    Real Estate Taxes (due 10.15.19)                        48,100
 Portion-Cut Steaks                            52,500     $1.500        63,000    $1.500    Utilities                                               21,000
 Tolling -                                                                                  Property & Other Insurance, including W/C               11,700
   Ground Products -
     Existing Business                          11,520    $0.450         11,700   $0.450    Plant Cleaning Fees                                     29,000
     New Business                               15,360    $0.480         61,440   $0.480    Repairs & Maintenance Costs                             10,000
   Portion-Cut Steaks                           11,340    $1.800         11,340   $1.800    IT Service Fees, plus supplies                           5,500
 Other Products Not Specified                        0    $0.000              0   $0.000    Professional Services- Regular Operations               10,000
 Boxed Beef/Pork                                24,000    $1.000         30,000   $1.000    Other Miscellanous Expenses                              7,500
 Samples & Donated Products                     (2,200)                  (2,800)
 Other Product Costs Not Allocated             (38,098)   ($0.035)      (52,423) ($0.035)
 Freight to Customers' Locations               (95,810)   ($0.100)     (120,480) ($0.100)   Marketing Allowances-Paid to Distributors             112,000
 Marketing Allowances                         (109,000)   ($0.098)     (155,000) ($0.101)   Food Shows and Other Marketing Expenses                10,000
                                                                                            Sales Commissions                                      18,000
       Total Gross Margin                     534,673     $0.481       673,452    $0.441
                                                                                             Total Expenditures                                  2,755,800
Production Costs
 Production Labor                              72,500      0.067        92,000     0.060
 Incremental Labor - New Business              27,040      0.025        49,240     0.033    Nissan Lease                                              700
 Labor - PTO                                    4,400      0.004         5,500     0.004    Debt Service - Ochsner Annual Payment                 112,940
 Labor - Holiday Pay                            4,000      0.004             0     0.000
 Health Insurance                              12,500      0.011        12,500     0.008     Total Debt Service                                   113,640
 Payroll Taxes - Company-portion                7,000      0.006         8,750     0.006
 401K Plan - Company-portion                    1,700      0.002         2,125     0.001    Excess of Receipts Over Expenditures                     $560
 Workman Compensation Insurance                 3,300      0.003         3,300     0.002
 Payroll Processing Costs                         800      0.001         1,000     0.001    Legal Retainer
 Temporary Workers                             89,000      0.082       106,000     0.069    Other Related Expenditures
  Total Production Labor                      222,240      0.204       280,415     0.184

Other Production Costs
 Utilities                                     19,625      0.018        19,625     0.013
 Garbage Removal                                2,300      0.002         2,300     0.002
 Repairs & Maintenance                         11,300      0.010        14,000     0.009
 Building Rent                                  8,266      0.008         8,266     0.005
 Equipment Lease Costs                          2,075     $0.002         2,075    $0.001
 Real Estate Taxes                              4,680      0.004         4,680     0.003
 Quality Control-Related Expenses               4,500      0.004         5,625     0.004
 Sanitation & Production Supplies               9,000      0.008        11,500     0.008
 Plant Cleaning Costs                          28,000      0.026        35,000     0.023
 Insurance                                      8,500      0.008         8,500     0.006
 Other Production Costs                         1,600      0.001         1,600     0.001
 Depreciation                                  15,900      0.015        15,900     0.010
  Total Production Costs                      337,986      0.311       409,486     0.268
Net Margin                                    196,687      0.170       263,966     0.173

Operating Expenses
 Salaries & Benefits-Administrative            52,000      0.048        65,000     0.043
 Salaries & Benefits-Sales                     50,000      0.046        60,000     0.039
 Travel & Entertainment                         8,000      0.007        10,000     0.007
 Marketing Expenses                             3,000      0.003         3,000     0.002
 Show Expenses                                  1,000      0.001         5,000     0.003
 Samples                                        4,600      0.004         5,500     0.004
 Sales Commissions                             18,000      0.017        22,000     0.014
 Repairs & Maintenance - IT                     4,800      0.004         4,800     0.003
 Building Rent                                  4,451      0.004         4,451     0.003
 Real Estate Taxes                              2,520      0.002         2,520     0.002
 Professional Services                          5,000      0.005         7,500     0.005
 Depreciation                                   3,700      0.003         3,700     0.002
 Other                                         16,000      0.015        18,000     0.012
Total S, G & A Expenses                       173,071      0.159       211,471     0.138

Operating Income                                23,616    $0.022        52,495    $0.034

Interest Expense
 Ratcliff Note                                       0                       0
 SSJR Note                                       8,050                  10,100
 Other                                          10,000                  12,500
  Total Interest Expense                        18,050                  22,600

Net Income                                      $5,566                 $29,895




                                                                                                                                           Exhibit I
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA


In Re:                                                 Case No.: 19-32928-MER

Rancher’s Legacy Meat Co.,                             Chapter 11

                       Debtor.


              ORDER AUTHORIZING INTERIM USE OF CASH COLLATERAL
                     AND GRANTING ADEQUATE PROTECTION


         This case came on for hearing on the Expedited Hearing and for Interim and Final Orders

Authorizing Use of Cash Collateral and Granting Adequate Protection filed by Rancher’s Legacy

Meat Co. (“Debtor”). Based on the motion and the file and having determined that the Debtor’s

offer of adequate protection constitutes adequate protection of the secured parties’ interests under

11 U.S.C. §§ 361 and 363,

IT IS ORDERED:

         1.     The Debtor’s motion is granted.

         2.     The Debtor’s request for expedited relief is granted.

         3.     The Debtor is authorized to use cash collateral in accordance with the terms of the

budget filed in support of the Motion through the Interim Period.1

         4.     The Debtor is authorized and directed to grant adequate protection to the Ratcliff

and ULF on the terms as set forth in the motion. The replacement liens granted by the Debtor to




         1
         Capitalized terms utilized herein and not otherwise defined shall have the meaning
ascribed to them in the Motion.
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Ratcliff and ULF shall have the same dignity, priority and effect as their respective prepetition

interests, if any.

         5.     Except to the extent specifically set forth herein, all objections to the entry of this

Order are hereby overruled.

         6.          The final hearing authorizing use of cash collateral will be held on October 23,

2019 at 9:00 a.m. before Judge Michael E. Ridgway, Courtroom 7W, U.S. Courthouse, 300

South Fourth Street, Minneapolis, Minnesota 55415.


Dated: September __, 2019
                                                 ____________________________________
                                                 Honorable Michael E. Ridgway
                                                 UNITED STATES BANKRUPTCY JUDGE




                                                    23
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